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   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-296 JAM
11
                                   Plaintiff,            STIPULATION AND ORDER TO SET BRIEFING
12                                                       SCHEDULE AND CONTINUE JUDGMENT AND
                             v.                          SENTENCING
13
     CHRISTIAN PARADA RENTERIA, ET AL.,                  DATE: April 3, 2018
14                                                       TIME: 9:15 a.m.
                                  Defendants.            COURT: Hon. John A. Mendez
15

16

17           The United States of America, by and through Assistant United States Attorney Brian A.

18 Fogerty, and defendant Christian Parada Renteria, by and through his counsel, Dina L. Santos, hereby

19 agree and stipulate as follows:

20           1.      On March 16, 2018, Parada filed a motion for reconsideration of the denial of his motion

21 to withdraw his guilty plea. ECF No. 712. The parties agree that the United States shall file its response

22 to Parada’s motion on or before March 30, 2018.

23           2.      Parada and the United States also request that the Court vacate the April 3, 2018, hearing

24 for sentencing and entry of judgment, and reset that hearing for May 8, 2018. The Court appointed

25 Parada’s current counsel just over three months ago. ECF No. 684. In the event the Court denies

26 Parada’s motion for reconsideration, Parada’s counsel seeks the additional time to prepare for

27 sentencing.

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        STIPULATION AND [PROPOSED] ORDER                  1
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 1 Dated: March 21, 2018                                     MCGREGOR W. SCOTT
                                                             United States Attorney
 2

 3                                                   By: /s/ BRIAN A. FOGERTY
                                                         BRIAN A. FOGERTY
 4                                                       Assistant United States Attorney
 5
     Dated: March 21, 2018                                   /s/ DINA L. SANTOS
 6                                                           DINA L. SANTOS
                                                             Counsel for Defendant
 7                                                           Christian Parada Renteria
 8
                                                     ORDER
 9
            The Court, having received, read, and considered the parties’ stipulation, and good cause
10
     appearing therefrom, orders the United States to file its response to Christian Parada Renteria’s motion
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     for reconsideration on or before March 30, 2018. The Court also vacates the April 3, 2018, judgement
12
     and sentencing hearing for Christian Parada Renteria, and resets the case for sentencing and entry of
13
     judgment on May 8, 2018 at 9:15 a.m.
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15                  IT IS SO ORDERED.

16 Dated: 3/21/2018
                                                             /s/ John A. Mendez
17                                                           John A. Mendez
                                                             United States District Court Judge
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      STIPULATION AND [PROPOSED] ORDER                   2
